               2:02-cr-20040-JES-DGB # 91         Page 1 of 1
                                                                                                         E-FILED
                                                                         Tuesday, 06 June, 2006 08:56:15 AM
                                                                               Clerk, U.S. District Court, ILCD




     CHAMBERS OF                      UNITED STATES DISTRICT COURT                      TELEPHONE 217-373-5837
MICHAEL P. MCCUSKEY                      CENTRAL DISTRICT OF ILLINOIS                   FACSIMILE 217-373-5855
         CHIEF JUDGE
                                                318 U.S. COURTHOUSE
                                               201 SOUTH VINE STREET
                                               URBANA, ILLINOIS 61802


                                               June 5, 2006




   Minister Vera A. Douglas
   8042 S. Marshfield
   Chicago, IL 60620

   Dear Ms. Douglas:

           I have received your letter dated April 25, 2006. Unfortunately, I cannot extend leniency
   to your son, Edward. The law does not allow me to grant a sentence less than natural life in prison
   when someone is convicted for the third time in a drug case. This is known as the three-strike law
   and was enacted by Congress over 20 years ago. It’s purpose is to prevent judges from granting
   leniency to three time offenders in drug cases.

            Therefore, under the law, I have no power to reduce the sentence for your son, Edward. Your
   letter is being made a part of the record and a copy is being sent to the Assistant U.S. Attorney and
   the Assistant Federal Defender who handled Mr. Douglas’ case.

                                                            Sincerely,

                                                            s/ Michael P. McCuskey
                                                            Michael P. McCuskey
                                                            Chief U.S. District Judge
   MPM:mb

   cc:        Richard Cox, Assistant U.S. Attorney
              Robert Alvarado, Assistant Federal Defender
